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                                    ORDERED.

     Dated: March 07, 2019




                     IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

IN THE MATTER OF:
Kevin K. Wolfgang                                CASE NO.: 8:18-bk-09563-RCT
Jennifer A. Wolfgang                             CHAPTER 7

                            Debtors

    ORDER GRANTING MOTION TO APPROVE LOAN MODIFICATION AGREEMENT

       THIS MATTER came before the Court on Debtors’ Motion to Approve Loan
Modification Agreement [ECF No. 27]. The Court finds that good cause exists for granting the
relief requested.
       THEREFORE IT IS ORDERED that Debtor’s Loan Modification Agreement with Loan
Depot for real property located at 11721 Palm Avenue Riverview, FL 33569 has been
approved by the Court.
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Attorney Rachamin “Rocky” Cohen is directed to serve a copy of this order on interested
parties and file a proof of service within 3 days of entry of the order.
